                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )       NOS. 3:00-00188 & 3:01-00097
                                                  )       JUDGE CAMPBELL
KEVIN JERRON COOK                                 )

                                           ORDER

      Pending before the Court is a Motion to Continue Supervised Release Hearing for Forty-Five

(45) Days (Docket No. 49; Case No. 3:01-00097). The Motion is GRANTED.

      The hearing scheduled for January 9, 2014, on the Petitions (Docket No. 1084 in Case No.

3:00-00188 and Docket No. 33 in Case No. 3:01-00097) alleging violations of Defendant’s

conditions of Supervised Release is RESCHEDULED for February 27, 2014, at 1:00 p.m.

      It is so ORDERED.

                                                  ____________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




 Case 3:00-cr-00188      Document 1100        Filed 01/02/14     Page 1 of 1 PageID #: 405
